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 4
     Attorneys for Defendant
 5   ZHORA DARMOYAN
 6
 7                             IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,             )               CASE NO: 2:11-CR-00467 JAM
10                                         )
                             Plaintiff,    )
11                                         )
                                           )               STIPULATION AND ORDER
12                                         )               CONTINUING IMPOSITION OF
     vs.                                   )               JUDGMENT AND SENTENCING
13                                         )
                                           )
14   ZHORA DARMOYAN, et al.,               )
                                           )               DATE:       FEBRUARY 17, 2015
15                           Defendant.    )               TIME:       9:30 A.M.
     _____________________________________ )               JUDGE:      JOHN A. MENDEZ
16
17
                                             STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant
19
     Zhora Darmoyan, by and through his counsel of record, hereby stipulate that the status
20
     conference concerning judgment and sentencing in the matter presently set for February 17,
21
     2015, at 9:30 a.m. may be vacated and the matter continued to August 4, 2015, at 9:15 a.m. for a
22
     status conference regarding the imposition of judgment and sentence.
23
            Mr. Darmoyan’s plea agreement with the government contains cooperation provisions
24
     and the government is not able to adequately assess the degree of their cooperation until the
25
     charges against others have been tried or otherwise disposed of. For that reason, the parties have
26
     stipulated that the current date for a status conference concerning imposition of judgment and
27
     sentencing may be vacated and the matter continued to August 4, 2015, at 9:15 a.m. for a status
28
     conference regarding a new date for imposition of judgment and sentencing.
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 1          IT IS SO STIPULATED.
 2
 3   DATED: February 5, 2015                               /s/ Lee S. Bickley
 4                                                         LEE S. BICKLEY
                                                           Assistant United States Attorney
 5
                                                           For the UNITED STATES OF AMERICA
 6
 7
     DATED: February 5, 2015                               /s/ Daniel V. Behesnilian
 8
                                                           DANIEL V. BEHESNILIAN
 9
                                                           For defendant ZHORA DARMOYAN
10
11
12                                                ORDER
13          IT IS SO FOUND AND ORDERED that for good cause appearing from the stipulation of
14   the parties that the status conference concerning imposition of judgment and sentencing in this
15   matter currently scheduled for February 17, 2015, at 9:30 a.m., is vacated and the matter is
16   continued to August 4, 2015, at 9:15 a.m. for a status conference regarding the imposition of
17   judgment and sentence.
18
19   DATED: February 9, 2015
20
21                                                /s/ John A. Mendez_______________________
                                                  HONORABLE JOHN A. MENDEZ
22                                                UNITED STATES DISTRICT COURT JUDGE
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